                           Case 3:15-cv-01099-G Document 1-3 Filed 04/10/15                                                                   Page 1 of 28 PageID 13
   CITATION BY MAILING                                                                                                                             Cause No. 92658-CC
   THE STATE OF TEXAS
           NOTICE TO THE DEFENDANT: "You have been sued. You may employ an attorney. If you or your attorney;
   does not file a written answer with the clerk who issued this citation by 10:00 o'clock a.m. of the Monday next     i
   following the expiration of twenty days after you were served this citation and petition, a default judgment may be ~
   taken against you."                                                                                                 ~

   TO:
   Safeco Insurance Company of Indiana
   through its registered agent Corporation Service Company
   211 East 7th Street Suite 620, Austin TX 78701
   Defendant in the hereinafter styled and numbered cause:                                                                                                                                                         ;
   YOU ARE HEREBY COMMANDED to appear and answer before the Honorable County Court at Law, Kaufman ;
   County, Texas, by filing a written answer to the Plaintiffs Original Petition of the Plaintiff at or before 10:00 o'clock
   a.m. of the Monday next after the expiration of 20 days from_the date of service hereof, a copy of which accompanies!
   the Citation, in Cause Number 92658-CC, styledfAngela-.Gliddwell~-Vs. Safeco Insurance Company of Indiana, Chad ;
   Davis, filed in said court on 10th day of Mar:ch jl _20;1%5_       .; `

   ISSUED AND GIVEN UNDER MY r~
                             HAND'AND`SE'AL         of'said C`o`urt.at        Kaufmari;    Texas, on this the 10th day of                                                                                          ;
   March, 2015.
                              . :. : -~~~~
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                                                                                              RHONDA:HIJGHEY f'
                                                                                              DISTRICT CLERK-..- -~~~"~                                                                                            ;
                                                                                              100 W MulberryiSt
                                                         "                , , " ,'"~ ~ ~_ • , Kaufman, 37 14 ~                                                                                                     ~
                                                                                                                                                                                                                   ~
                                                                                              ~y               ..                                                                Deputy                            ~
                                                        ,                  ,    :.... • ~ ~:.              " 're Jories                                                                                            ~
   Attorney for Plaintiff: Richard                           :{   aly                                                               ~k
   2211 Norfolk St Suite 517
   Houston TX 77098                                                         "Y
   713-655-1405
                                                                  ~..~      OFFICER",S RETURN"BY~NIAILING                     :
                                                                             ;•.. -•-,    t ri.:•. .
   Came to hand the             day of     ;                            ;"      =~ ;and executed by mailing to the            ;
   Defendant certified mail, return receipt~•cequested and.with restricted delivery a true copy of this citation together with,
   an attached copy of Plaintiff's Petition to the~following
                                                        , -... address:
                                                                                                          .~:..,.. ...--                                                                                           ;
   Defendant                                                                 Address

   Service upon the Defendant is evidence by the return receipt incorporated herein and attached hereto,
   Signed and Dated by
   This Citation was not executed for the following reason:


   To certify which witness my hand officially.
                                                                                                                                         Constable
                                                                                                                                         District Clerk Sheriff
                                                                                                                                         Deputy

   *ATTACH RETURN RECEIPT(S) WITH ADDRESSEE'S SIGNATURE                                                                                                                         Service


                                                                                              EXHIBIT C-1
w/pn'PP0:1YI.0%/Y/O/1i,AIP'I.i /~J/14;Y'/d,OI'i//O.%//////////9'I////~/O///O!///iW///.%///O/.I/OI1//////R% O'.~FJ/ii00/II/~C/,JY/I,~IAI, *M/,1Y/0%,I/C:RStl/J.:~//L~//NAI/IY/O~:I/itll.~I/~'/O///~/~.LO/I///O/O///YI~
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                                                                              Filed: 3/9/2015 11:54:30 PM
                                                                              Rhonda Hughey,
                                                                              District Clerk
                                                                              Kaufman County, Texas

                                             92658-CC                         Karen Jones

                                 CAUSE NO.

ANGELA GLIDEWELL                            § IN THE DISTRICT COURT OF

       Plaintiff

vs.                                            KAUFMAN COUNTY, TEXAS

SAFECO 1NSURANCE COMPANY OF
INDIANA AND CHAD DAVIS
                                                         JUDICIAL DISTRICT
       Defendants

                           PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       Angela Glidewell ("Ms. Glidewell"), Plaintiff herein, files this Original Petition against

Defendants Safeco Insurance Company of Indiana ("Safeco") and Chad Davis ("Davis") and, in

support of her causes of action, would respectfully show the Court the following:

                                             I.
                                        THE PARTIES

       I.      Angela Glidewell is a Texas resident who resides in Kaufman County, Texas.

       2.      Safeco is an insurance company doing business in the State of Texas which may

be served through its registered agent for service of process in the State of Texas, Corporation

Service Company, via certified mail at 211 East 7th Street, Suite 620, Austin, TX 78701.

       3.      Chad Davis is a Texas resident who participated in adjusting Ms. Glidewell's

insurance claim, and he may be served via certified mail at 7005 Silber Rd., Apt. 1308,

Arlington, TX 76017-1825.

                                             II.
                                         DISCOVERY

       4.      This case is intended to be governed by Discovery Level 2.
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                                             III.
                                      CLAIM FOR RELIEF


          5.   The damages sought are within the jurisdictional limits of this court. Plaintiff

currently seeks monetary relief over $100,000 but not more than $200,000, including damages of

any kind, penalties, costs, expenses, pre judgment interest, and attorney's fees. However, to the

extent that Defendants refuse to cooperate in discovery, make frivolous and unwarranted

objections, file needless motions, quash depositions and discovery requests without a reasonable

basis, assert unjustified or false affirmative defenses, make unwarranted special exceptions, hire

individuals they claim to be "experts" who give false opinions or testimony, produce witnesses

who commit perjury, conduct excessive discovery, or otherwise needlessly delay litigation, the

costs, expenses, interest, and attorney's fees will likely be over $200,000 but not more than

$1,000,000.

                                           IV.
                                 JURISDICTION AND VENUE

          6.   This court has subject matter jurisdiction of this cause of action because it

involves an amount in controversy in excess of the minimum jurisdictional limits of this Court.

No diversity of citizenship exists in this matter.

          7.   Venue is proper in Kaufman County under Tex. Civ. Prac. & Rem. Code

§15.002(a)(1) because all or a substantial part of the events or omissions giving rise to the claim

occurred in Kaufman County. In particular, the loss at issue occurred in Kaufman County.

                                            V.
                                   FACTUAL BACKGROUND

          8.    Ms. Glidewell is a named insured under a property insurance policy issued by

Safeco.



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          9.    On or about October 2, 2014 a storm hit the Forney, Texas area, damaging Ms.

Glidewell's house and other property. Ms. Glidewell subsequently filed a claim on her insurance

policy.

          10.   Defendants improperly denied and/or underpaid the claim.

          11.   Davis was assigned as an individual adjuster on the claim, conducted a substandard

investigation and inspection of the property, prepared a report that failed to include all of the

damages that he noted during the inspection, and undervalued the damages he observed during the

inspection.

          12.   Davis's unreasonable investigation led to the underpayment of Plaintiff's claim.

          13.   Moreover, Safeco and Davis performed an outcome-oriented investigation of

Plaintiff's claim, which resulted in a biased, unfair and inequitable evaluation of Plaintiff's losses

on the property.

                                            VI.
                                     CAUSES OF ACTION

          14.   Each of the foregoing paragraphs is incorporated by reference in the following:

A.        Breach of Contract (Safeco Only)

          15.   Safeco had a contract of insurance with Plaintiff. Safeco breached the terms of

that contract by wrongfully denying and/or underpaying the claim and Plaintiff was damaged

thereby.

B.        Prompt Payment of Claims Statute (Safeco Only)

          16.   The failure of Safeco to pay for the losses and/or to follow the statutory time

guidelines for accepting or denying coverage constitutes a violation of Article 542.051 et seq. of

the Texas Insurance Code.




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        17.    Plaintiff, therefore, in addition to Plaintiff's claim for damages, is entitled to 18%

interest and attorneys' fees as set forth in Article 542.060 of the Texas Insurance Code.

C.      Bad Faith/DTPA (Safeco and Davis)

        18.    Defendants are required to comply with Chapter 541 of the Texas Insurance

Code.

        19.    Defendants violated § 541.051 of the Texas Insurance Code by:

               (1)     making statements misrepresenting the terms and/or benefits of the policy.

        20.    Defendants violated § 541.060 by:

               (l)     misrepresenting to Plaintiff a material fact or policy provision relating to

coverage at issue;

               (2)     failing to attempt in good faith to.effectuate a prompt, fair, and equitable

settlement of a claim with respect to which the insurer's liability had become reasonably clear;

               (3)     failing to promptly provide to Plaintiff a reasonable explanation of the

basis in the policy, in relation to the facts or applicable law, for the insurer's denial of a claim or

offer of a compromise settlement of a claim;

               (4)      failing within a reasonable time to affirm or deny coverage of a claim to

Plaintiff or submit a reservation of rights to Plaintiff; and

                (5)     refusing to pay the claim without conducting a reasonable investigation

with respect to the claim;

        21.     Defendants violated § 541.061 by:

                (1)     making an untrue statement of material fact;

                (2)     failing to state a material fact necessary to make other statements made not

misleading considering the circumstances under which the statements were made;



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               (3)     making a statement in a manner that would mislead a reasonably prudent

person to a false conclusion of a material fact;

               (4)     making a material misstatement of law; and

               (5)     failing to disclose a matter required by law to be disclosed.

       22.     At all material times hereto, Plaintiff was a consumer who purchased insurance

products and services from Defendants.

       23.     Defendants have violated the Texas Deceptive Trade Practices Act in the

following respects:

               (1)     Defendants represented that the agreement confers or involves rights,

remedies, or obligations which it does not have, or involve, or which are prohibited by law;

               (2)     Safeco failed to disclose information concerning goods or services which

was known at the time of the transaction when such failure to disclose such information was

intended to induce the consumer into a transaction that the consumer would not have entered into

had the information been disclosed;

               (3)     Safeco, by accepting insurance premiums but refusing without a

reasonable basis to pay benefits due and owing, engaged in an unconscionable action or course

of action as prohibited by the DTPA § 17.50(a)(1)(3) in that Safeco took advantage of Plaintiff's

lack of knowledge, ability, experience, and capacity to a grossly unfair degree, that also resulted

in a gross disparity between the consideration paid in the transaction and the value received, in

violation of Chapter 541 of the Insurance Code.

       24.     Defendants knowingly committed the acts complained of. As such, Plaintiff is

entitled to exemplary and/or treble damages pursuant to the DTPA and Texas Insurance Code §

541.152(a)-(b).



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D.        Attorneys' Fees

          25.     Plaintiff engaged the undersigned attorney to prosecute this lawsuit against

Defendants and agreed to pay reasonable attorneys' fees and expenses through trial and any

appeal.

          26.     Plaintiff is entitled to reasonable and necessary attorney's fees pursuant to TEX.

CIV. PRAC. & REM. CODE §§ 38.001-38.003 because she is represented by an attorney,

presented the claim to Defendants, and Defendants did not tender the just amount owed before

the expiration of the 30`h day after the claim was presented.

          27.     Plaintiff further prays that she be awarded all reasonable attorneys' fees incurred

in prosecuting her causes of action through trial and any appeal pursuant to Sections 541.152

542.060 of the Texas Insurance Code.

                                            VII.
                                   CONDITIONS PRECEDENT

          28.     A11 conditions precedent to Plaintiff's right to recover have been fully performed,

or have been waived by Defendants.

                                            VIII.
                                     DISCOVERY REOUESTS

          29.     Pursuant to Rule 194, you are requested to disclose, within fifty (50) days after

service of this request, the information or material described in Rule 194.2(a)-(1).

          30.     You are also requested to respond to the attached interrogatories, requests for

production and requests for admissions within fifty (50) days, in accordance with the instructions

stated therein.




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                                             IX.
                                           PRAYER

        WHEREFORE, PREMISES CONSIDERED, Angela Glidewell prays that, upon final

hearing of the case, she recover all damages from and against Defendants that may reasonably be

established by a preponderance of the evidence, and that Ms. Glidewell be awarded attorneys'

fees through trial and appeal, costs of court, pre judgment interest, post judgment interest, and

such other and further relief, general or special, at law or in equity, to which Ms. Glidewell may

show herself to be justly entitled.


                                             Respectfully submitted,

                                             DALY & BLACK, P.C.

                                             By:    /s/ Richard D. Daly
                                                    Richard D. Daly
                                                    TBA No. 00796429
                                                    rdaly_(a),dalyblack.com
                                                    John Scott Black
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                                                    iblack@dalybiack.com
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                                                    Ana M. Ene
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                                                    William X. King
                                                    TBA No. 24072496
                                                    wking2dalyblack.com
                                                    2211 Norfolk St., Suite 800
                                                    Houston, Texas 77098
                                                    713.655.1405—Telephone
                                                    713.655.1587—Fax

                                             ATTORNEYS FOR PLAINTIFF
                                             ANGELA GLIDEWELL




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                PLAINTIFF'S FIRST SET OF INTERROGATORIES,
          REOUESTS FOR PRODUCTION AND REOUESTS FOR ADMISSIONS

         COMES NOW Plaintiff in the above-styled and numbered cause, and requests that

Defendant(s) (1) answer the following Interrogatories separately and fully in writing under oath

within 50 days of service; (2) answer the Requests for Production separately and fully in writing

within 50 days of service; (3) answer the Requests for Admissions separately and fully in writing

within 50 days of service; (4) serve your answers to these Interrogatories, Requests for

Production, and Requests for Admissions on Plaintiff by and through his/her attorneys of record,

Richard D. Daly, Daly & Black, P.C., 2211 Norfolk St, Suite 800, Houston, Texas 77098; and

(5) produce all documents responsive to the Requests for Production as they are kept in the usual

course of business or organized and labeled to correspond to the categories in the requests within

50 days of service at the Daly & Black, P.C. You are also advised that you are under a duty to

seasonably amend your responses if you obtain information on the basis of which:

         a.      You know the response made was incorrect or incomplete when made; or

         b.      You know the response, though correct and complete when made, is no longer

                 true and complete, and the circumstances are such that a failure to amend the

                 answer in substance is misleading.

                              DEFINITIONS AND INSTRUCTIONS

   A.         These Responses call for your personal and present knowledge, as well as the present
              knowledge of your attorneys, investigators and other agents, and for information
              available to you and to them.

    B.        If you cannot answer a particular Interrogatory in full after exercising due diligence to
              secure the information to do so, please state so and answer to the extent possible,
              specifying and explaining your inability to answer the remainder and stating whatever
              information or knowledge you have concerning the unanswered portion.

   C.     ' If you claim that any document which is required to be identified or produced by you
              in any response is privileged: .


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                1.   Identify the document's title and general subject matter;
                2.   State its date;
                3.   Identify all persons who participated in its preparation;
                4.   Identify the persons for whom it was prepared or to whom it was sent;
                5.   State the nature of the privilege claimed; and
                6.   State in detail each and every fact upon which you base your claim for
                     privilege.

 D.    "Documents," includes any written, recorded or graphic matter, however produced or
       reproduced, of every kind regardless of where located including, but not limited to,
       medical records, tax returns, earnings statements, any summary, schedule,
       memorandum, note, statement, letter, telegraph, interoffice communication, report,
       diary, ledger, journal, log, desk or pocket calendar or notebook, day book,
       appointmerit book, pamphlet, periodical, worksheet, cost sheet, list, graph, chart,
       telephone or oral conversation, study, analysis, transcript, minutes, accounting
       records, data sheet, tally or similar freight documents, computer printout, electronic
       mail, computer disk, and all other memorials of any conversations, meetings and
       conferences, by telephone or otherwise, and any other writing or recording which is
       in your possession, custody or control or in the possession, custody or control of any
       director, officer, employee, servant or agent of yours or your attorneys. The term
       "documents" shall also include the files in which said documents are maintained.
       Electronically stored information should be produced in PDF format.

 E.    "You," "Your," "Yours", "Defendants" and "Defendant" means all Defendants in this
       case.

 F.    In each instance where you are asked to identify or to state the identity of a person, or
       where the answer to an Interrogatory refers to a person, state with respect to each
       such person:
                 1. His or her name;
                 2. His or her last known business and residence address and telephone
                    number; and
                 3. His or her business affiliation or employment at the date of the
                    transaction, event or matter referred to.

 G.    If you decide that one question is not simply one question and plan to object based
       upon more than 25 interrogatories, you are instructed to skip that question and
       continue to answer what you consider to be only one question, by answering only the
       first 25 alleged single questions. By answering any one numbered question, you are
       hereby admitting that one number question is in fact one question and waive any
       objection based upon a limit of interrogatories.

  H.   "Plaintiffs" and "Plaintiff"' includes all Plaintiffs, and refers to a single Plaintiff or
       multiple Plaintiffs, if applicable.

  I.   "Property" means the property at issue in the lawsuit.
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           "Lawsuit" means this lawsuit.

                                            Respectfully submitted,

                                            DALY & BLACK, P.C.


                                            By:     /s/ Richard D. Daly
                                                    Richard D. Daly
                                                    TBA No. 00796429
                                                    rdaly~r
                                                          c,dalyblack.com
                                                    John Scott Black
                                                    TBA No. 24012292
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                                                    Ana M. Ene
                                                    TBA No. 24076368
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                                                    2211 Norfolk St., Suite 800
                                                    Houston, Texas 77098
                                                    713.655.1405—Telephone
                                                    713.655.1587—Fax

                                            ATTORNEYS FOR PLAINTIFF
                                            ANGELA GLIDEWELL




                                CERTIFICATE OF SERVICE

       I hereby certify that I sent a true and correct copy of the attached discovery requests to
Defendant(s) as an attachment to the petition. Therefore, Defendant would have received it
when it was served with the citation.

                                                    /s/ Richard D. Daly
                                                    Richard D. Daly




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                  INTERROGATORIES TO DEFENDANT SAFECO

1.   Identify the name, address, and role in the claim made the basis of this Lawsuit, if any,
     for all persons providing information for the answers these interrogatories.

     ANSWER:

2.   Identify all persons and/or entities who handled the claim made the basis of the Lawsuit
     on behalf of Defendant.

     ANS WER:

3.   Does Defendant contend that Plaintiff(s) failed to provide proper notice of the claim
     made the basis of this Lawsuit under either the policy or the Texas Insurance Code, and,
     if so, describe how the notice was deficient, and identify any resulting prejudice caused to
     Defendant.

     ANSWER:

4.   Does Defendant claim that Plaintiff(s) failed to mitigate his or her damages? If so,
     describe how Plaintiff failed to do so, identifying any resulting prejudice caused to
     Defendant.

      ANQWFR•


5.   Does Defendant contend that Plaintiff(s) failed to provide Defendant with requested
     documents and/or information? If so, identify all requests to which Plaintiff(s) did not
     respond and state whether you denied any portion of the claim based on Plaintiff's(s')
     failure to respond.

     ANS W ER:

6.   At the time the claim made the basis of this Lawsuit was investigated and the Property
     inspected (and prior to anticipation of litigation), describe all damage attributable to the
     storm observed at the Property by Defendant or any persons 'or entities on behalf of
     Defendant.

     ANSWER:


7.   Identify all exclusions under the Policy applied to the claim made the basis of this
     Lawsuit, and for each exclusion identified, state the reason(s) that Defendant relied upon
     to apply that exclusion.

      ANQWFR•




                                              Lfl
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8.    Describe how Defendant determined whether overhead and profit ("O&P") should be
      applied to the claim made the basis of this Lawsuit, identifying the criteria for that
      determination.

      ANSWER:

9.    Identify all items on the claim made the basis of this Lawsuit to which Defendant applied
      depreciation, stating for each item the criteria used and the age of the item.

      ANS WER:
10.   To the extent Defendant utilized an estimating software program and modified the
      manufacturer's settings with respect to Plaintiffs' claim, identify those modifications.

      ANSWER:

11.   State whether Defendant applied depreciation to the tear off of the damaged roof and/or
      other debris removal in the claim made the basis of this Lawsuit, identifying the basis for
      that depreciation and the applicable policy section under which the tear off was paid
      under.

      ANSWER:

12.   Identify all price lists used to prepare all estimates on the claim made the basis of this
      Lawsuit, stating the manufacturer, version, date and geographical area.

      ANSWER:

13.   To extent Defendant is aware, state whether the estimate(s) prepared for the claim made
      the basis of lawsuit wrongly included or excluded any item or payment. If so, identify
      each item or payment and state whether it should have been included or excluded from
      the estimates prepared on the claim made the basis this Lawsuit.

      ANSWER:

14.   To the extent Defendant is aware, state any violations of Texas Insurance Code Section
      541 that were discovered on this claim during the claims handling process.

      ANSWER:

15.   To the extent Defendant is aware, state any violations of Texas Insurance Code Section
      542 that were discovered on this claim during the claims handling process.

      ANSWER:


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16.   To the extent Defendant is aware, state any violations of the requirements or obligations
      owed to Plaintiff(s) under the Policy relating the claim made the basis of this Lawsuit that
      were discovered during the claims handling process.

      ANS WER:

17.   State the date Defendant first anticipated litigation.

      ANS WER:

18.   State every basis, in fact and in the terms of Plaintiff's policy, for Defendant's(s') denial
      or partial denial and/or recommendation of denial or partial denial of PlaintifEs claim(s).

      ANS WER:

19.   Identify every other insurance claim (by name, address and telephone no. of the insured)
      made for property damage in the same city/town as the house at issue in this case, and
      stemming from the same storm, which claim was paid in part or whole. This is limited to
      within 5 miles of Plaintiffls(s') insured property.

      ANS WER:

20.   Identify anyone who recommended payment on Plaintiff's claim(s), and if so, state what
      amount(s).

      ANSWER:

21.   Give the name, address and telephone number of all persons making a claim with you for
      property damage for the same date of loss as Plaintiffls claim. This request is limited to
      persons who live within a 5 mile radius of Plaintiffls insured residence.

      ANSWER:

22.   List all of your approved or preferred engineers, third party adjusters/adjusting
      companies, roofers and contractors, for windstorm claims in Texas from one year prior to
      the date of loss at issue to date.

      ANS WER:




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            REQUESTS FOR PRODUCTION TO DEFENDANT SAFECO

1.   The following insurance documents issued for the Property as identified in the Petition:
        a. the policy at issue for the date of loss as identified in the Petition; and
        b. the policy declarations page for the 3 years preceding the storm.

     RESPONSE:

2.   Produce underwriting files and documents relating to the underwriting for all insurance
     policies for the Property at issue. This request is limited to the past 5 years. To the extent
     Defendant contends that the underwriting file or documents older than 5 years impact the
     damages or coverage, produce that underwriting file or document.

     RESPONSE:

3.   AII documents relating to the condition or damages of the Property or any insurance
     claim on the Property.

     RESPONSE:

4.   A11 documents relating to any real property insurance claims made by the Plaintiff(s).
     This request is limited to the past 5 years. To the extent Defendant contends that
     documents older than 5 years impact the damages or coverage, produce that document.

     RESPONSE:

     A11 requests for information to any third party about the Property, the Plaintiff(s), or the
     claims made the basis of this Lawsuit.

     RESPONSE:

6.   AII documents used to instruct, advise, guide, inform, educate, or assist provided to any
     person handling the claim made the basis of this Lawsuit that related to the adjustment of
     this type of claim, i.e., hail property damage.

     RESPONSE:

7.   A11 documents obtained from any person(s) or entity(ies) and governmental agencies on
     behalf of Defendant or by Defendant relating to the Plaintiff(s), the Property, the Policy,
     or the claims made the basis of this Lawsuit. This request includes all documents
     obtained by way of deposition on written questions.

     RESPONSE:




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8.    A11 documents received (prior to litigation) directly or indirectly from Plaintiff(s) or
      created by Plaintiff(s) related to the Property made the basis of this lawsuit. This request
      is limited to the past 5 years. To the extent Defendant contends that any document older
      than 5 years impact the damages or coverage, produce that document.

      RESPONSE:

9.    Produce a copy of all price lists used to prepare any estimates for the claim made the
      basis of this Lawsuit. To the extent the pricelist is an unmodified pricelist from a third
      party, you can reference the vendor and version of the pricelist with a stipulation that it is
      unmodified.

      RESPONSE:

10.   To the extent Defendant created or altered any prices used in the preparation of an
      estimate in the claim made the basis of this Lawsuit, produce all documents related to the
      creation or alteration of the price, including the original price for that item and the factual
      bases for the creation or alteration.

      RESPONSE:

11.   A complete copy the personnel file related to performance (excluding medical and
      retirement information) for all people and their managers and/or supervisors who directly
      handled the claim made the basis of this Lawsuit, including all documents relating to
      applications for employment, former and current resumes, last known address, job title,
      job descriptions, reviews, evaluations, and all drafts or versions of requested documents.
      This request is limited to the past 5 years.

      RESPONSE:

12.   AII organizational charts, diagrams, lists, an/or documents reflecting each department,
      division or section of Defendant's company to which the claim made the basis of this
      Lawsuit was assigned.

      RESPONSE:

13.   All Texas insurance licenses and/or certifications in effect at the time of the claims
      arising out of the storms at issue for all persons who worked on the claim made the basis
      of this Lawsuit, irncluding any document relating to the application, issuance or review of
      those licenses and/or certifications. This request excludes those who performed merely
      ministerial acts, i.e. people who answer phones, file clerks whose only job duty is to
      stamp "received," etc.

      RESPONSE:




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14.   If an engineer and/or engineering firm evaluated the Property, produce all reports written
      at the request of Defendant by that engineer or engineering firm within the last 5 years.
      This request is limited to the extent that the engineer and/or engineering firm was used
      during claims handling.

      RESPONSE:

15.   Produce all documents showing amounts billed and paid to any engineer and/or
      engineering firm identified in response to Request for Production above within the last
      three years. A summary is acceptable in lieu of actual invoices or payments.

      RESPONSE:

16.   AII documents reflecting the pre-anticipation of litigation reserve(s) set on the claim
      made the basis of this Lawsuit, including any changes to the reserve(s) along with any
      supporting documentation.

      RESPONSE:

17.   A11 documents relating to issues of honesty, criminal actions, past criminal record,
      criminal conduct, fraud investigation and/or inappropriate behavior which resulted in
      disciplinary action by Defendant of any person(s) or entity(ies) who handled the claim
      made the basis of this Lawsuit, the Plaintiff(s) or any person assisting on the claim made
      the basis of this Lawsuit.

      RESPONSE:

18.   All documents relating to work performance, claims patterns, claims problems,
      commendations, claims trends, claims recognitions, and/or concerns for any person who
      handled the claim inade the basis of this Lawsuit.

      RESPONSE:

19.   All XactAnalysis reports that include this claim in any way, this Policy, the amount paid
      on this Policy and/or referencing any person who handled the claim made the basis of this
      Lawsuit relating to claims arising out of the storm(s) occurring on the date(s) of loss
      claimed by Plaintiff(s).

      RESPONSE:

20.   Any email or document that transmits, discusses, or analyzes any report produced in
      response to the Request for Production immediately above.

      RESPONSE:




                                              16
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21.   AII Simsol Management reports that include this claim in any way, this Policy, the
      amount paid on this Policy and/or referencing any person who handled the claim made
      the basis of this Lawsuit relating to claims arising out of the hail storms occurring in the
      county of suit on or about the date of loss claimed by Plaintiff(s).

      RESPONSE:

22.   Any email or document that transmits, discusses, or analyzes any report produced in
      response to the Request for Production immediately above.

      RESPONSE:

23.   For any consulting expert whose mental impressions or opinions have been reviewed by a
      testifying expert: all documents or tangible things that have been provided to, reviewed
      by, or prepared for the testifying expert.

      RESPONSE:

24.   Pursuant to Texas Rule of Evidence 609(f), provide all documents evidencing conviction
      of a crime which you intend to use as evidence to impeach any party or witness.

      RESPONSE:

25.   AII indemnity agreements in effect at the time of Plaintiffs' claim between Defendant and
      any person(s) and/or entity(ies) who handled the claim made the basis of the Lawsuit.

      RESPONSE:

26.   A11 contracts in effect at the time of Plaintiffs' claim between Defendant and any
      person(s) and/or entity(ies) who handled the claim made the basis of the Lawsuit.

      RESPONSE:

27.   A11 confidentiality agreements and/or instructions regarding confidentiality in effect at
      the time of Plaintiffs' claim between Defendant and any person(s) and/or entity(ies) who
      the claim made the basis of the Lawsuit.

      RESPONSE:

28.   All documents between Defendant and any person(s) and/or entity(ies) who handled the
      claim made the basis of the Lawsuit regarding documenf'retentiori policy in effect at the
      time of Plaintiffs' claim.

      RESPONSE:




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29.   To the extent the claim involves rescinding of the policy, all documents regarding
      Defendant's standards for investigating and rescinding and/or voiding a policy.

      RESPONSE:

30.   A List of all of your approved or preferred engineers, third party adjusters/adjusting
      companies, roofers and contractors, for windstorm claims in Texas from one year prior to
      the date of loss at issue to date.

      RESPONSE:




                                             18
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                         INTERROGATORIES TO DEFENDANT DAVIS


      Identify all email accounts, email addresses, and/or any alias or code used to identify you and
      used for any communication relating to your work handling storm claims arising out of the
      storm(s) at issue in this Lawsuit. This request is limited only to the carrier of the claim that is
      the subject of this Lawsuit.

       RESPONSE:


2.    Identify generally the training or experience you had in adjusting hail and/or windstorm
      damage and any specific training you had for this storm prior to your handling of claim made
      the basis of this Lawsuit.

       RESPONSE:


3.    Identify any degrees, Texas insurance licenses (unless you qualified for adjusting claims in
      Texas on an emergency basis, then list any insurance licenses you held from other states) or
      certifications you had at the time you handled the claim made the basis of this Lawsuit.

       RESPONSE:


4.    Explain how you were compensated and by whom for your work on claims arising out of the
      storm(s) at issue in this Lawsuit., stating the amount you were compensated per claim, per
      day, and/or per week and identifying any bonus or incentive plans. To the extent the
      produced personnel file includes a compensation schedule, you may refer to such personnel
      file.

       RESPONSE:


      State whether you are fluent in Spanish and whether you had any communication relating to
      the claim made the basis of this Lawsuit in Spanish. If you are not fluent in Spanish, state
      whether you are proficient in Spanish to communicate to adjust a claim.

       RESPONSE:




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6.     Identify the following dates:

          a. The date you first obtained an adjuster license in the State of Texas;
          b. The first date you were hired/retained by the insurance company defendant or any
             other defendant in this Lawsuit to adjust property damage claims;
          c. The date you were first assigned to claims arising out of the storm(s) at issue in this
             Lawsuit.;
          d. The date you closed your file on the claim made the basis of this Lawsuit; and
          e. The last date you worked on any claims arising out of the storm(s) at issue in this
             Lawsuit.

       RESPONSE:


7.     Describe in detail each inspection you conducted of the Property made the basis of this
       Lawsuit, identifying:
          a. The name and job title of any person who inspected the Property with you;
          b. The date of each inspection;
          c. The purpose of each inspection;
          d. The length of time of each inspection;
          e. The equipment or tools used during each inspection;
          f. The areas of the Property inspected (i.e. roof, attic, individual rooms, exterior); and
          g. Any documents generated during or as a result of each inspection, including the
             persons and/or entities in possession of those documents.

       RESPONSE:


8.    Following .the inspection(s), did You engage in any additional communications (e.g.,
      telephone, in person, written communication) with Plaintiff(s)? If yes, provide the following
      information:


          a. the date of such communication(s);
          b. the manner of such communication(s);
          c. the person to whom You communicated;
          d. the reason for the communication(s);
          e. for any telephonic communication(s), identify who initiated the phone call, and the
             telephone number from which you called or on which you received the call; and
          f. the general substance of the communication.

       RESPONSE:




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9.     Identify and describe all damage you observed during your inspection(s) of the claim made
       the basis of this Lawsuit. To the extent the damage you observed during your inspection is
       reflected in scope notes and photographs, you can refer Plaintiffs to such scope notes and/or
       photographs.

       RESPONSE:


10.    For all damage observed at the Property or reflected in your scope notes and/or photographs,
       state what your believe to be the cause of the damage, describing the investigatory steps you
       took to determine the cause, and identify all person(s) and/or entity(ies) that provided
       information or participated in that determination.

       RESPONSE:


11.    To the extent you applied or recommended policy exclusions, identify all exclusions under
       the Policy applied to the claim made the basis of this Lawsuit, and for each exclusion applied
       or recommended, state the factual reason(s) that the exclusion was applied or recommended.

       RESPONSE:


12.     Identify the information you used to determine and how you calculated the amount of
        depreciation that you applied to any damage categories included in any estimates you
        prepared and/or approved on the claim made the basis of this Lawsuit.

       RESPONSE:


13.     How did you determine whether you would or would not apply overhead and profit (O&P) to
        Plaintiffs' claim?

        RESPONSE:


14.     Identify all documents that you relied upon in the adjustment of the claim made the basis of
        this Lawsuit. For each document, identify who provided the document.

        RESPONSE:


15.     Identify all documents or information you requested from Plaintiff during the investigation of
        the claim made the basis of this Lawsuit, the date the request was made, the person who
        communicated the request, and the Plaintiff(s) who received the request.



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       RESPONSE:


16.    Identify all documents or items in your possession related to the claim made the basis of this
       Lawsuit that you did not submit to the insurance company and/or adjusting company
       assigned to this claim.

       RESPONSE:


17.    To the extent you are aware; identify all documents or items that were altered, revised;
       changed or removed from the documents or information you provided the insurance company
       or adjusting company relating to the claim made the basis of this Lawsuit.

       RESPONSE:


18.    Identify and describe any training, guidance or instruction provided to you by any person
       and/or entity regarding the handling of claims arising out of the storm(s) at issue in this
       Lawsuit.

       RESPONSE:




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             REOUESTS FOR PRODUCTION TO DEFENDANT DAVIS


l.   AII documents related to Plaintiff(s), the Property, the Policy, and/or the claim made the
     basis of this Lawsuit.

     RESPONSE:


2.   AI1 licenses or certifications that are identified in response to Interrogatory Number 3.

     RESPONSE:


3.   AIl training documents you have for adjusting hail and/or windstorm claims. This request
     is limited to the past 2 years.

     RESPONSE:


4.   A11 applications you submitted (or submitted on your behalf) for purposes of obtaining a
     license to adjust claims in the State of.Texas that were in effect .at the time of the
     storm(s) at issue in this Lawsuit..

     RESPONSE:


5.   AII resumes for the last five (5) years.

     RESPONSE:


6.   A11 applications for employment you submitted for purposes of obtaining employment as
     an adjuster and/or claims handler in the State of Texas. This request is limited to the five
     (5) years preceding the storm(s) at issue in this Lawsuit.

     RESPONSE:


7.   AI1 documents you relied upon in the adjustment of the claim made the basis of this
     Lawsuit.

     RESPONSE:




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8.    To the extent you made a determination or recommendation regarding depreciation, all
      documents relating to the application of depreciation on a homeowners property claim in
      the State of Texas for the past two (2) years.

      RESPONSE:


9.    To the extent you made a determination or recommendation regarding overhead and
      profit, all documents relating to the application of overhead and profit on a homeowners
      property claim in the State of Texas for the past two (2) years.

      RESPONSE:


10.   A11 documents or items in your possession related to the claim made the basis of this
      Lawsuit that you did not submit to the insurance company and/or adjusting company
      assigned to this claim.

      RESPONSE:



11.   All documents meant to instruct, advise, or guide the handling or adjusting hail and/or
      windstorm claims in the State of Texas for the last 2 years.

      RESPONSE:


12.   A11 training manuals in effect at the time of Plaintiffs' claim used for software programs
      utilized in the claim made the basis of this lawsuit.

      RESPONSE:


13.   AI1 documents relating to any performance reviews or evaluations by the carrier of the
      underlying claim, whether formal or informal, regarding your handling of claims arising
      out of the storm(s) at issue in this Lawsuit.

      RESPONSE:


14.   All documents relating to any Texas Department of Insurance complaints made against
      you by an insured related to claims arising out of the storm(s) at issue in this Lawsuit.

      RESPONSE:


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15.   All contracts, indemnity agreements, and/or confidentiality agreements between you and
      the adjusting company and/or insurance company in effect during the handling of claims
      arising out of the storm(s) at issue in this Lawsuit.

      RESPONSE:


16.   A11 price lists used by you in handling claims arising out of the claims arising out of the
      storm(s) at issue in this Lawsuit. To the extent the pricelist is an unmodified pricelist
      from a third party, you can reference the vendor and version of the pricelist with a
      stipulation that it is unmodified.

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17.   All weather reports regarding wind and/or hail relied upon by you in handling claims
      arising out of the claims arising out of the storm(s) at issue in this Lawsuit.

      RESPONSE:


18.   AII correspondence to or from the adjusting company and/or the insurance company that
      issued the policy regarding modifying/modifications to the unit price cost and the price
      list you used in handling'claims arising out of the storm(s) at issue in this Lawsuit.

      RESPONSE:




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                FIRST SET OF REQUESTS FOR ADMISSIONS TO
                            SAFECO AND DAVIS


REQUEST FOR ADMISSION NO. 1. Admit you committed statutory bad faith in adjusting
Plaintiff's claim.

RESPONSE:

REQUEST FOR ADMISSION NO. 2. Admit you committed common law bad faith in
adjusting Plaintiff's claim.

RESPONSE:

REQUEST FOR ADMISSION NO. 3. Admit you breached the insurance agreement by failing
to pay the full amount owed there under.

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REQUEST FOR ADMISSION NO. 4. Admit you breached the insurance agreement by failing   ;
to pay the full amount owed there under on a timely basis.

RESPONSE:

REQUEST FOR ADMISSION NO. 5. Admit you breached the Texas Prompt Payment Act by
failing to pay the full amount owed under the policy in a timely fashion.

RESPONSE:




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